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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                 §
       “DEEPWATER HORIZON” in the               §                 MDL No. 2179
       GULF OF MEXICO on                        §
       APRIL 20, 2010                           §                  SECTION: J
                                                §
            This Document Relates to:           §            Judge Carl J. Barbier
                                                §        Magistrate Judge Sally Shushan
                                                §
                  No. 2-10-cv-02771             §
                                                §
                                                §


                                           ORDER
         After considering M-I L.L.C.’s Motion for Leave to File Third-Party Defendant M-I

L.L.C.’s Answer to the Complaint and Petition for Exoneration from or Limitation of Liability

and First Amended Cross-Claim to Third-Party Plaintiffs’ Rule 14(c) Third Party Complaint,

         IT IS ORDERED that Third-Party Defendant M-I L.L.C.’s Answer to the Complaint and

Petition for Exoneration from or Limitation of Liability and First Amended Cross-Claim to

Third-Party Plaintiffs’ Rule 14(c) Third Party Complaint be accepted by the Clerk of this Court

and filed into the record.


         SIGNED this ___ day of _________________, 2011, New Orleans, Louisiana.


                                                    __________________________________
                                                    THE HONORABLE CARL J. BARBIER
                                                    UNITED STATES DISTRICT JUDGE




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